                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                        Case No.    17-00024-01-CR-W-HFS

 JEFFREY K. WILSON,
 [DOB: 01/19/1965]
                                Defendant.

                                       PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.    The Parties. The parties to this agreement are the United States Attorney=s Office

for the Western District of Missouri (otherwise referred to as Athe Government@ or Athe United

States@), represented by Timothy A. Garrison, United States Attorney, Stacey Perkins Rock,

Assistant United States Attorney, and James Curt Bohling, Assistant United States Attorney and

the defendant, Jeffrey K. Wilson (Athe defendant@), represented by Nathan Garrett and Kathleen

Fisher of Graves Garrett LLC.

       The defendant understands and agrees that this plea agreement is only between Jeffrey K.

Wilson and the United States Attorney’s Office for the Western District of Missouri, and that it

does not bind any other federal, state, or local prosecution authority or any other government

agency, unless otherwise specified in this agreement.

       2. Defendant==s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count 5 of the indictment charging defendant with violating 18 U.S.C. ' 1031, that is, major

program fraud, in that on or about July 31, 2013, and as part of the defendant’s scheme to defraud




         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 1 of 16
the United States and to obtain money by means of false and fraudulent pretenses, representations

and promises, the defendant falsely and fraudulently represented that Patriot Company, Inc. (PCI)

was eligible for contracts set aside by the United States Department of Veteran Affairs (VA) for

service disabled veteran owned small businesses (SDVOSBs), and PCI, which the defendant

controlled, thereby procured a contract for work in Iowa City, Iowa, valued at approximately

$2,527,709.00, which contract PCI was not eligible to receive because, as the defendant knew, PCI

was not a legitimate SDVOSB because the service disabled veteran (SDV) was not managing or

controlling the day-to-day operations of PCI.   By entering into this plea agreement, the defendant

admits he knowingly committed this offense, and admits he is guilty of this offense.

       3.   Factual Basis for Guilty Plea.      The parties agree that the facts constituting the

offense to which defendant is pleading guilty are as follows:

        Jeffrey K. Wilson was not a veteran. Jeffrey K. Wilson was the 100% owner and
president of Corporation A, a construction company formed in 2000 and located in the Western
District of Missouri.   PCI was formed in 2005 in the state of Missouri as a SDVOSB with a
SDV as the nominal owner. Neither PCI’s long-term decision making nor its day-to-day
operations were managed or controlled by the SDV. In fact, Jeffrey K. Wilson, a minority PCI
shareholder, managed and controlled PCI’s day-to-day operations and long-term decision making
between May 2005 and January 2014. Throughout the period that PCI operated, the SDV
maintained full-time employment with the government, preventing him from managing or
operating PCI as required.

        Jeffrey K. Wilson used PCI in a scheme to obtain at least $13,819,522.00 in approximately
20 federally funded contracts set aside for SDVOSBs or veteran owned small businesses (VOSBs)
for work in approximately nine states. The Veterans Entrepreneurship and Small Business
Development Act of 1999 established an annual government-wide goal of awarding contracts to
at least three percent of the total value of all federal prime and subcontract awards for small
businesses owned and controlled by SDVs. One of the requirements to obtain government
contracts set aside for SDVOSBs was that the SDV must control the day-to-day management, daily
operations, and long-term decision making of the SDVOSB. The United States General Services
Administration (GSA) housed database systems located outside the state of Missouri where
contractors entered and certified details of their companies. Government agency contracting
offices rely on this information and these certifications to award set-aside contracts. Between
2005 and 2012, Jeffrey K. Wilson made approximately five certifications in the GSA-housed

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         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 2 of 16
databases that PCI was eligible for SDVOSB and VOSB set-aside contracts even though he knew
it was not. Between 2010 and 2013, Jeffrey K. Wilson signed more than 10 government set-aside
contracts in which he falsely represented that PCI was eligible for SDVOSB and VOSB set-aside
contracts when he knew it was not.

         In July 2011, Jeffrey K. Wilson received an email from the VA raising concerns that PCI
was not a legitimate SDVOSB. In response, Jeffrey K. Wilson and the SDV sent a letter to VA
stating that as a corporate officer and owner of PCI, Jeffrey K. Wilson had authority to sign a
recent contract. In September 2012, VA requested documentation from PCI to determine
eligibility for the set-aside contracts. That same month, in September 2012, PCI’s recertification
as an SDVOSB was denied. The VA advised Jeffrey K. Wilson that because the SDV was not
working full-time for PCI during normal business hours, PCI did not meet SDVOSB requirements.
Notwithstanding this, PCI appealed the decision and was recertified by claiming the SDV was
devoted full-time to managing PCI, even though the SDV maintained his full-time employment as
a government employee and did not actually manage or control PCI’s day-to-day operations.

        On or about July 31, 2013, and as part of the defendant’s scheme to defraud the United
States and to obtain money by means of false and fraudulent pretenses, representations and
promises, the VA awarded PCI a contract for work in Iowa City, Iowa, based on a bid prepared by
Jeffrey K. Wilson. After preparing the bid, Jeffrey K. Wilson directed the SDV to sign the bid,
which falsely and fraudulently represented that PCI was a legitimate SDVOSB, allowing PCI to
procure the contract, valued at approximately $2,527,709.00. Jeffrey K. Wilson knew that PCI
was not eligible to receive this contract because PCI was not a legitimate SDVOSB given that the
SDV owner was not managing and controlling PCI. In September 2013, VA conducted an
unannounced site visit of PCI. The site inspector discovered that the SDV was working 40 miles
away at his full-time job as a federal employee at Leavenworth, Kansas. In December 2013, VA
de-certified PCI as a SDVOSB.




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         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 3 of 16
        As a result of the scheme, Jeffrey K. Wilson, through PCI, unlawfully obtained the
following federal set-aside contracts, thereby depriving other SDVOSBs and VOSBs that bid on
these contracts from obtaining them:

      Agency         Contract No.           Award          Award Date           City, State
  1     VA          VA263-RA-0650          $264,712 1       9/24/2009          Ft. Meade, SD
  2    Army        W91151-10-C-0177         $99,928         9/07/2010          Fort Hood, TX
  3     VA          VA263-C-1074           $149,104 2       9/23/2010           Omaha, NE
  4     VA          VA256-C-1235            $93,100         4/12/2011          Muskogee, OK
 5         VA        VA256-C-1237           $111,269        4/12/2011          Muskogee, OK

  6        VA        VA251-C-1074         $1,628,248 3      6/16/2011         Battle Creek, MI

  7        VA        VA256-C-1344         $4,383,129 4      6/22/2011        Oklahoma City, OK

 8         VA        VA255-C-2136           $180,972        9/14/2011         Kansas City, MO

 9         VA        VA255-C-2229          $1,008,119       9/14/2011         Kansas City, MO

 10        VA        VA251-C-1103           $153,440        12/15/2011          Ft. Wayne, IN

 11        VA      VA249-12-C-0089          $689,881        1/24/2012           Memphis, TN

 12        VA      VA263-12-C-0172         $281,821 5       6/28/2012          Des Moines, IA

 13        VA     VA786A-12-C-0033          $25,439          8/1/2012            Danville, IL

 14        VA      VA263-13-C-0129         $245,095 6       5/29/2013          Des Moines, IA

 15        VA      VA263-13-C-0155         $775,069 7       6/26/2013            Fargo, ND

 16        VA      VA263-13-C-0177         $415,850 8       6/27/2013            Omaha, NE



       1
           Original contract award: $238,341; four modifications resulted in chart award amount.
       2
           Original contract award: $143,666; two modifications resulted in chart award amount.
       3
           Original contract award: $1,324,000; four modifications resulted in chart award
amount.
       4
           Original contract award: $4,295,500; one modification resulted in chart award amount.
       5
           Original contract award: $272,226; four modifications resulted in chart award amount.
       6
           Original contract award: $185,137; seven modifications resulted in chart award amount.
       7
           Original contract award: $770,651; three modifications resulted in chart award amount.
       8
           Original contract award: $375,818; two modifications resulted in chart award amount.

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           Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 4 of 16
 17        VA       VA263-13-C-0208          $78,735         7/24/2013            Omaha, NE

 18        VA       VA263-13-C-0210         $321,876 9       7/29/2013         Grand Island, NE

 19        VA       VA263-13-C-0216        $2,809,378 10     7/31/2013           Iowa City, IA

 20        VA       VA263-13-C-0281          $104,357        9/30/2013           Iowa City, IA

                          Total:           $13,819,522


       None of the 20 federal set-aside contracts would have been awarded to PCI absent false
representations that PCI was managed and controlled by the SDV.

       4. Use of Factual Admissions and Relevant Conduct.           The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement will be used for the purpose of determining defendant’s guilt and advisory sentencing

range under the United States Sentencing Guidelines (AU.S.S.G.@), including the calculation of the

defendant=s offense level in accordance with U.S.S.G. ' 1B1.3(a)(2).               The defendant

acknowledges, understands and agrees that in calculating the offense level for the charge to which

defendant is pleading guilty, the conduct charged in any dismissed counts of the indictment as well

as all other uncharged related criminal activity may be considered as Arelevant conduct@ pursuant

to U.S.S.G. ' 1B1.3(a)(2), or as part of the Aoffense of conviction@ pursuant to U.S.S.G. ' 1B1.2.

       5. Statutory Penalties. The defendant understands that upon defendant’s plea of guilty

to Count Five of the indictment charging a violation of 18 U.S.C. ' 1031, that is, major program

fraud, the minimum penalty the Court may impose is probation, while maximum penalty the Court

may impose is not more than 10 years of imprisonment, a $10,000,000 fine, three years of


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            Original contract award: $312,000; one modification resulted in chart award amount.
       10
            Original contract award: $2,527,709; eight modifications resulted in chart award
amount.

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            Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 5 of 16
supervised release, and a $100 mandatory special assessment per felony count of conviction which

must be paid in full at the time of sentencing.   The defendant further understands that this offense

is a Class C felony.

       6.   Sentencing Procedures.       The defendant acknowledges, understands and agrees to

the following:

               a. in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission. While these Guidelines are advisory in nature, and the
       Court ordinarily would have the discretion to impose a sentence either less than or
       greater than the court-determined advisory Guidelines range, in this instance the
       parties agree, pursuant to Rule 11(c)(1)(C), that the Court must impose sentence as
       follows: no fine, no criminal forfeiture, a mandatory special assessment of $100.00,
       and a term of imprisonment that cannot exceed 18 months. The defendant may
       seek a sentence below the guidelines, including a sentence of probation, and the
       government may oppose defendant’s request. The parties agree that there are no
       identifiable victims so restitution will not be imposed, however, defendant must
       consent to forfeiture in the civil forfeiture proceedings described in subparagraph f
       below. If the court accepts this plea agreement, it must inform the defendant that
       sentence will be imposed in accordance with this agreement of the parties. If the
       court rejects this plea agreement, it must, on the record and in open court, inform
       the parties that the court rejects the plea agreement, advise the defendant personally
       that because the Court is rejecting the plea agreement the Court is not required to
       impose sentence in accordance with the agreement of the parties, give the defendant
       an opportunity to withdraw defendant’s guilty plea, and further advise the
       defendant that if the plea is not withdrawn, the Court may dispose of the case less
       favorably toward the defendant than the plea agreement contemplated;

              b. the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c. in addition to a sentence of imprisonment, the Court may impose a term
       of supervised release of not more than three years; that the Court must impose a
       period of supervised release if a sentence of imprisonment of more than one year is
       imposed;

              d. if the defendant commits a supervised release violation, the Court may
       revoke supervised release and impose an additional period of imprisonment of up
       to two years without credit for time previously spent on supervised release. In
       addition to a new term of imprisonment, the Court also may impose a new period

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         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 6 of 16
       of supervised release, the length of which cannot exceed three years, less the term
       of imprisonment imposed upon revocation of the defendant=s first supervised
       release;

                 e. any sentence of imprisonment imposed by the Court will not allow for
       parole;

              f. The defendant agrees that the United States has instituted civil forfeiture
       proceedings against forfeitable assets in which the defendant has an interest as
       agreed in the civil forfeiture stipulation resolving those civil proceedings. The
       defendant has entered a stipulated agreement with the United States in the matter
       of United States of America v. $113,000.00, et al, Case No. 15-00847-CV-W-GAF
       and United States of America v. Real Property Located at 155 Street of Dreams, et
       al, Case No. 15-00602-CV-W-GAF, pursuant to which the United States agrees to
       dismiss United States of America v. Real Property Located at 155 Street of
       Dreams, et al, Case No. 15-00602-CV-W-GAF. The defendant’s stipulated
       agreement with the United States resolves all the defendant’s claims in both of the
       above-identified civil cases;

               g. The defendant agrees to take all necessary steps to comply with the civil
       forfeiture matters set forth herein before defendant=s sentencing.

       7.   Government==s Agreements.       Based upon evidence in its possession at this time, the

United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring charges against any other individual or entity for any federal criminal offense

related to the PCI scheme. The Government further agrees not to bring any additional charges

against defendant for any federal criminal offenses related to the PCI scheme for which it has

venue and which arose out of the defendant=s conduct described above.             Additionally, the

Government agrees to dismiss Counts One through Four and Six through Eight at sentencing.

       The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the Acting United States Attorney for the Western District of Missouri has no knowledge.


                                                 7




         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 7 of 16
       The defendant recognizes that the United States’ agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement.       If the defendant breaches this plea agreement, the

United States retains the right to proceed with the original charges and any other criminal

violations established by the evidence.     The defendant expressly waives defendant’s right to

challenge the initiation of the dismissed or additional charges if defendant breaches this agreement.

The defendant expressly waives the right to assert a statute of limitations defense if the dismissed

or additional charges are initiated following defendant=s breach of this agreement and had not

otherwise expired prior to the date of the Indictment. The defendant further understands and

agrees that if the Government elects to file additional charges against defendant following a breach

of this plea agreement, defendant will not be allowed to withdraw defendant’s guilty plea.

       8.   Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct.    This may include information concerning the background, character, and

conduct of the defendant, including the entirety of defendant=s criminal activities.   The defendant

understands these disclosures are not limited to the count to which defendant has pleaded guilty.

The United States may respond to comments made or positions taken by the defendant or the

defendant=s counsel and to correct any misstatements or inaccuracies. The United States further

reserves its right to make any recommendations it deems appropriate regarding the disposition of

this case, subject only to any limitations set forth in this plea agreement.   The United States and

the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant

to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.


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         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 8 of 16
       9.    Withdrawal of Plea.      Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and

its formal acceptance by the Court.   In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has

been formally accepted by the Court, the defendant may withdraw defendant’s plea of guilty only

if the Court rejects the plea agreement or if the defendant can show a fair and just reason for

requesting the withdrawal.

       10.    Agreed Guidelines Applications.           With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

               a. The Sentencing Guidelines do not bind the Court and are advisory in
       nature. However, if the court accepts this Rule 11(c)(1)(C) plea agreement, the
       Court is bound to impose the sentence agreed to by the parties, as set forth in
       paragraph 6 above;

            b. The applicable Guidelines Manual is the one that took effect on
       November 1, 2016;

              c. The applicable Guidelines section for the offense of conviction is
       U.S.S.G. ' 2B1.1(a)(2), which provides for a base offense level of 6;

               d. The parties reserve the right to argue at sentencing the correct measure
       of loss pursuant to U.S.S.G. ' 2B1.1(b)(1), and to appeal the court’s decision on
       this issue, notwithstanding anything that might indicate otherwise in this plea
       agreement;

              e. The defendant was an organizer, leader, manager or supervisor which,
       pursuant U.S.S.G. ' 3B1.1(c), increases the offense level by 2;

              f.     The parties may argue their respective postions regarding the
       applicability of any other sentencing enhancements;

              g. The defendant has admitted guilt and clearly accepted responsibility for
       defendant=s actions. Consequently, defendant is entitled to a two or three-level
       reduction pursuant to ' 3E1.1(a) of the Sentencing Guidelines;


                                                 9




         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 9 of 16
               h. The defendant=s criminal history category is Category 1;

               i. The defendant understands that the estimated Guideline calculations set
       forth in the subsections of this paragraph do not bind the Court or the United States
       Probation Office with respect to the Court’s determination of the applicable
       advisory Guidelines;

               j. The defendant and the United States confirm that the agreed sentence
       set forth in paragraph 6 above is both reasonable and authorized by law;

               k. The defendant consents to judicial fact-finding by a preponderance of
       the evidence for all issues pertaining to the determination of the defendant’s
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination
       beyond a reasonable doubt of all facts used to determine and enhance the sentence
       imposed, and waives any right to have those facts alleged in the indictment. The
       defendant also agrees that the Court, in finding the facts relevant to the imposition
       of sentence, may consider any reliable information, including hearsay; and

              l. The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 of this plea agreement, and any admissions that defendant
       will make during the plea colloquy, support the imposition of the agreed-upon
       sentence and Guidelines calculations contained in this agreement.

       11.   Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.   Change in Guidelines Prior to Sentencing.          The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option.   If the Government exercises its option to void the


                                                10




        Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 10 of 16
plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

       13.       Government==s Reservation of Rights.          The defendant understands that the

United States expressly reserves the right in this case to:

              a. oppose or take issue with any position advanced by defendant at the
       sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

                 b. comment on the evidence supporting the charges in the indictment;

               c. oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentences imposed and that the United States
       remains free on appeal or collateral proceedings to defend the legality and propriety
       of the sentence actually imposed, even if the Court does not impose the sentence
       agreed to by parties in this agreement; and

                 d. oppose any post-conviction motions for reduction of sentence, or other
       relief.

       14.       Waiver of Constitutional Rights.             The defendant, by pleading guilty,

acknowledges that defendant has been advised of, understands, and knowingly and voluntarily

waives the following rights:

                 a. the right to plead not guilty and to persist in a plea of not guilty;

               b. the right to be presumed innocent until defendant=s guilt has been
       established beyond a reasonable doubt at trial;

               c. the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d. the right to confront and cross-examine the witnesses who testify
       against defendant;

               e. the right to compel or subpoena witnesses to appear on defendant=s
       behalf; and



                                                   11




        Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 11 of 16
                  f. the right to remain silent at trial, in which case defendant=s silence may
          not be used against defendant.

          The defendant understands that by pleading guilty, defendant waives or gives up those

rights and that there will be no trial.   The defendant further understands that if defendant pleads

guilty, the Court may ask defendant questions about the offense or offenses to which defendant

pleaded guilty, and if the defendant answers those questions under oath and in the presence of

counsel, defendant=s answers may later be used against defendant in a prosecution for perjury or

making a false statement.       The defendant also understands defendant has pleaded guilty to a

felony offense and, as a result, will lose the right to possess a firearm or ammunition and might be

deprived of other rights, such as the right to vote or register to vote, hold public office, or serve on

a jury.

          15.   Waiver of Appellate and Post-Conviction Rights.

          The defendant expressly waives any right to appeal defendant’s sentence, directly or

collaterally, on any ground except claims of (1) ineffective assistance of counsel; (2) prosecutorial

misconduct; (3) an illegal sentence; or (4) the court improperly calculated loss for guideline

calculation purposes. An Aillegal sentence@ means a sentence imposed in excess of the statutory

maximum.        However, if the United States exercises its right to appeal the sentence imposed as

authorized by 18 U.S.C. ' 3742(b), the defendant is released from this waiver and may, as part of

the Government=s appeal, cross-appeal defendant=s sentence as authorized by 18 U.S.C. ' 3742(a)

with respect to any issues that have not been stipulated to or agreed upon in this agreement.

          16.   Financial Obligations.

          By entering into this plea agreement, the defendant understands and agrees to the following

financial obligations:

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           Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 12 of 16
                a. The United States may use the Federal Debt Collection Procedures Act
          and any other remedies provided by law to collect any fine or unpaid Special
          Assessment.

                  b. The defendant understands that a Special Assessment will be imposed
          as part of the sentence in this case. The defendant promises to pay the Special
          Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
          the Court prior to appearing for the sentencing proceeding in this case. The
          defendant agrees to provide the Clerk=s receipt as evidence of defendant=s
          fulfillment of this obligation at the time of sentencing.

                  c. The defendant certifies that defendant has made no transfer of assets or
          property for the purpose of (1) evading financial obligations created by this
          Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
          hindering efforts of the USAO to enforce such financial obligations. Moreover,
          the defendant promises that defendant will make no such transfers in the future.


          17.   Waiver of FOIA Request.        The defendant waives all rights, whether asserted

directly or by a representative, to request or receive, or to authorize any third party to request or

receive, from any department or agency of the United States any records pertaining to the

investigation or prosecution of this case including, without limitation, any records that may be

sought under the Freedom of Information Act, 5 U.S.C. ' 552, or the Privacy Act of 1974, 5 U.S.C.

' 552a.

          18. Waiver of Claim for Attorney’s Fees. The defendant waives all claims under the

Hyde Amendment, 18 U.S.C. ' 3006A, for attorney=s fees and other litigation expenses arising out

of the investigation or prosecution of this matter.

          19.   Defendant’s Breach of Plea Agreement.        If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally


                                                  13




           Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 13 of 16
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw defendant’s plea of

guilty.

          The defendant also understands and agrees that in the event defendant violates this plea

agreement, all statements made by defendant to law enforcement agents subsequent to the

execution of this plea agreement, any testimony given by defendant before a grand jury or any

tribunal or any leads from such statements or testimony shall be admissible against defendant in

any and all criminal proceedings.     The defendant waives any rights that defendant might assert

under the United States Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal

Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule that pertains to the

admissibility of any statements made by defendant subsequent to this plea agreement.

          20.   Defendant==s Representations.    The defendant acknowledges entering into this

plea agreement freely and voluntarily after receiving the effective assistance, advice and approval

of counsel.      The defendant acknowledges that defendant is satisfied with the assistance of

counsel, and that counsel has fully advised defendant of defendant=s rights and obligations in

connection with this plea agreement.      The defendant further acknowledges that no threats or

promises, other than the promises contained in this plea agreement, have been made by the United

States, the Court, defendant=s attorneys or any other party to induce defendant to plead guilty.

          21.   No Undisclosed Terms.     The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that

might be presented to the Court in camera, constitute the entire plea agreement between the parties,


                                                 14




           Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 14 of 16
and that any other terms and conditions not expressly set forth in this agreement or any written

supplemental agreement do not constitute any part of the parties= agreement and will not be

enforceable against either party.

         22.    Standard of Interpretation.     The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.


                                              Timothy A. Garrison
                                              United States Attorney


Dated:           1/31/2018                      s/ Stacey Perkins Rock
                                              Stacey Perkins Rock
                                              Assistant United States Attorney


        I have consulted with my attorneys and fully understand all of my rights with respect to the
offenses charged in the indictment. Further, I have consulted with my attorneys and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorneys. I understand this
plea agreement and I voluntarily agree to it.


Dated:         1/31/2018                          s/ Jeffrey K. Wilson
                                              Jeffrey K. Wilson
                                              Defendant


        We are defendant Jeffrey K. Wilson=s attorneys. We have fully explained to defendant
the rights defendant has with respect to the offenses charged in the indictment. Further, we have
reviewed with defendant the provisions of the Sentencing Guidelines which might apply in this
case. We have carefully reviewed every part of this plea agreement with defendant. To our

                                                15




          Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 15 of 16
knowledge, Jeffrey K. Wilson=s decision to enter into this plea agreement is an informed and
voluntary one.


Dated:
                                          Nathan Garrett
                                          Attorney for Defendant



Dated:      1/31/2018                       s/ Kathleen Fisher
                                          Kathleen Fisher
                                          Attorney for Defendant




                                            16




         Case 4:17-cr-00024-HFS Document 28 Filed 02/02/18 Page 16 of 16
